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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *

v.                                             *       Criminal No. RDB-16-0364

RODERICK BRUNSON                               *

                                               *

*      *       *       *       *     *   *    *   *                    *       *       *         *
                                    MEMORANDUM ORDER

       Presently pending is the Motion to Modify Conditions of Supervised Release (ECF#473).

Specifically, the Defendant requests that the condition of home confinement during his period of

supervised release be terminated. The Government has opposed this motion (ECF#478). Brunson’s

Motion (ECF #473) is DENIED.

       The Defendant was one of fourteen defendants indicted in this case and charged with

conspiracy to distribute and possess with intent to distribute heroin. He plead guilty on November

29, 2017 and on March 5, 2018 he was sentenced to 24 months incarceration with a period of two

years supervised release after his release from the Federal Bureau of Prisons. This sentence was

well below the advisory guideline range of 57 -71 months (25 I). The Defendant has now been

released from incarceration and commenced his period of supervised release and is subject to home

detention for the first 12 months of that period of supervised release. The conditions of home

confinement permit him to go to work, church, medical appointments and only require him to be at

home at night. The Defendant can further seek the approval of his probation officer if there are any

other matters that require his departure from his residence. There is no basis for this Court to modify

the conditions of supervised release previously imposed. Accordingly, IT IS HEREBY ORDERED

this 11th day of May 2020 that said Motion is DENIED

                                                      /s/
                                               Richard D. Bennett
                                               U.S. District Judge
